                     Case 23-90116 Document 1 Filed in TXSB on 03/14/23 Page 1 of 33

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 Southern
 ____________________             Texas
                      District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                   Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           Diamond Sports Group, LLC
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                8 ___
                                              ___ 3 –- ___
                                                         4 ___
                                                            5 ___
                                                               5 ___
                                                                  3 ___
                                                                     1 ___
                                                                        4 ___
                                                                           3
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                               10706 Beaver Dam Road
                                              ______________________________________________             3003 Exposition Blvd.
                                                                                                         _______________________________________________
                                              Number     Street                                          Number     Street

                                              ______________________________________________             _______________________________________________
                                                                                                         P.O. Box

                                              Hunt Valley                 MD 21030
                                              ______________________________________________             Santa Monica               CA      90404
                                                                                                         _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                              Baltimore County
                                              ______________________________________________
                                              County                                                     _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                  http://www.ballysports.com
                                              ____________________________________________________________________________________________________




Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
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Debtor        Diamond Sports Group, LLC
              _______________________________________________________                         Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              5 ___
                                             ___ 1 ___
                                                    5 ___
                                                       2

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
                        Case 23-90116 Document 1 Filed in TXSB on 03/14/23 Page 3 of 33

Debtor          Diamond Sports Group, LLC
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases         No
       filed by or against the debtor
       within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases            No
       pending or being filed by a
       business partner or an              Yes.           See Rider 1
                                                    Debtor _____________________________________________              Affiliate
                                                                                                         Relationship _________________________
       affiliate of the debtor?                              Southern District of Texas
                                                    District _____________________________________________ When               03 / 14 / 2023
                                                                                                                              __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have         No
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?
                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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Debtor          Diamond Sports Group, LLC
                _______________________________________________________                              Case number (if known)_____________________________________
                Name




 13.   Debtor’s estimation of                 Check one:
       available funds                         Funds will be available for distribution to unsecured creditors.
                                               After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                               1-49                               1,000-5,000                                25,001-50,000
 14.   Estimated number of                     50-99                              5,001-10,000                               50,001-100,000
       creditors
                                               100-199                            10,001-25,000                              More than 100,000
                                               200-999

                                               $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15.   Estimated assets1                       $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                               $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                               $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                               $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16.   Estimated liabilities2                  $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                               $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                               $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


               Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of              The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                                  petition.
       debtor
                                                 I have been authorized to file this petition on behalf of the debtor.

                                                 I have examined the information in this petition and have a reasonable belief that the information is true and
                                                  correct.


                                              I declare under penalty of perjury that the foregoing is true and correct.

                                                              03 / 14 / 2023
                                                  Executed on _________________
                                                              MM / DD / YYYY


                                               /s/ David F. DeVoe, Jr.
                                                  _____________________________________________                David F. DeVoe, Jr.
                                                                                                               _______________________________________________
                                                  Signature of authorized representative of debtor             Printed name

                                                        Chief Financial Officer & Chief Operating
                                                  Title _________________________________________                 Officer




  1   The Debtors' estimated assets are provided on a consolidated basis.
  2   The Debtors' estimated liabilities are provided on a consolidated basis.

 Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
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               Diamond Sports Group, LLC
              _______________________________________________________
Debtor        Name                                                                       Case number (if known)_____________________________________



 18.   Signature of attorney
                                         /s/ John F. Higgins
                                           _____________________________________________            Date       03 / 14 / 2023
                                                                                                               _________________
                                            Signature of attorney for debtor                                   MM    / DD / YYYY



                                           John F. Higgins
                                           _________________________________________________________________________________________________
                                           Printed name
                                            Porter Hedges LLP
                                           _________________________________________________________________________________________________
                                           Firm name
                                           1000        Main St., 36th Floor
                                           _________________________________________________________________________________________________
                                           Number     Street
                                           Houston
                                           ____________________________________________________            TX
                                                                                                          ____________  77002
                                                                                                                       ______________________________
                                           City                                                           State        ZIP Code

                                           (713) 226-6648
                                           ____________________________________                            jhiggins@porterhedges.com
                                                                                                          __________________________________________
                                           Contact phone                                                  Email address



                                           09597500
                                           ______________________________________________________ TX
                                                                                                  ____________
                                           Bar number                                             State




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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                                              Rider 1

                                         Affiliated Entities

        On the date hereof, each of the affiliated entities listed below (including the debtor in this
chapter 11 case) filed in the United States Bankruptcy Court for the Southern District of Texas a
petition for relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101–1532.
Contemporaneously with the filings of these petitions, such entities filed a motion requesting joint
administration of their chapter 11 cases under the case number assigned to the chapter 11 case of
Diamond Sports Group, LLC.



ARC Holding, Ltd.
Diamond Sports Group, LLC
Diamond College Sports, LLC
Diamond Digital Group, LLC
Diamond Gaming Services, LLC
Diamond Mobile Holdings, LLC
Diamond Ohio Holdings, LLC
Diamond Ohio Holdings II, LLC
Diamond San Diego Holdings, LLC
Diamond Southern Holdings, LLC
Diamond Sports Net Arizona Holdings, LLC
Diamond Sports Net Arizona, LLC
Diamond Sports Net Detroit, LLC
Diamond Sports Net Florida, LLC
Diamond Sports Net North, LLC
Diamond Sports Net Ohio, LLC
Diamond Sports Net West 2, LLC
Diamond Sports Net, LLC
Diamond Sports Sun, LLC
Diamond St. Louis Holdings, LLC
Diamond West Holdings, LLC
Diamond-BRV Southern Sports Holdings, LLC
Fastball Sports Productions, LLC
FRSM Holdings LLC
Sports Holding, LLC
Sports Network, LLC
Sports Network II, LLC
SportSouth Network, LLC
SportSouth Network II, LLC
Sunshine Holdco, LLC
                           Case 23-90116 Document 1 Filed in TXSB on 03/14/23 Page 7 of 33


      Fill in this information to identify the case:

      Debtor name    Diamond Sports Group, LLC
      United States Bankruptcy Court for the:   Southern                    District of    Texas                                                  Check if this is an
                                                                                          (State)
                                                                                                                                                   amended filing
      Case number (if known):




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                     12/15

    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
    largest unsecured claims.


     Name of creditor and complete           Name, telephone number, and   Nature of the claim      Indicate if      Amount of unsecured claim
     mailing address, including zip code     email address of creditor     (for example, trade      claim is         If the claim is fully unsecured, fill in only unsecured
                                             contact                       debts, bank loans,       contingent,      claim amount. If claim is partially secured, fill in
                                                                           professional             unliquidated,    total claim amount and deduction for value of
                                                                           services, and            or disputed      collateral or setoff to calculate unsecured claim.
                                                                           government
                                                                           contracts)
                                                                                                                     Total claim, if    Deduction for       Unsecured
                                                                                                                     partially          value of            claim
                                                                                                                     secured            collateral or
                                                                                                                                        setoff
     U.S. Bank National Association, as     Melody Scott                   Debt                                                                           $1,811,587,381
1    Trustee for 6.625% Senior Unsecured    877-312-1425
     Notes Due 2027                         melody.scott@us.bank.com
     Corporate Trust Services, 18th Floor
     1021 East Cary Street, Suite 1850
     Richmond, Virginia 23219

     CFD Trust No. 8                        Joseph Znidarsic, Trustee      Contract Obligation                                                              $77,216,368
2    Dolan Broadcast Properties, Ltd.       440-285-2242
     c/o Thrasher, Dinsmore & Dolan         jznidarsic@tddlaw.com
     100 7th Avenue, Suite 150
     Chardon, OH 44024-1079

     DIRECTV, LLC                           Michael Hartman                Customer                 Subject to Set                                          $40,104,422
3    Attn: Senior Vice President            310-964-5000                                            Off
     Programming Acquisitions               media@directv.com
     2230 East Imperial Highway
     El Segundo, CA 90245

     AZPB Limited Partnership               Derrick Hall                   Sports Right                                                                     $30,871,752
4    401 East Jefferson Street              602-462-6588                   Counterparty
     Pheonix, AZ 85004                      dhall@dbacks.com

     Intelsat S.A.                          Michelle Bryan                 Trade Vendor             Contingent                                              $15,000,000
5    7900 Tysons Place, Floor 14            703-559-6800
     McLean, VA 22102                       michelle.bryan@intelsat.com

     Raycom Sports Network, Inc.            Laura Rhyne                    Sports Right                                                                      $8,530,186
6    160 Mine Lake Ct Ste 200               704-338-3061                   Counterparty
     Raleigh, NC 27615-6417                 Laura.Rhyne@raycomsports.com

     Home Team Sports (HTS), a division of Michael Schreiber, CEO          Contract Obligation                                                               $5,110,126
7    National Advertising Partners, by its 404-230-0359
     General Partner, PlayFly NAP GP 1,    Peter.Mosienko@Foxsports.net
     LLC
     1175 Peachtree Street Ne
     100 Colony Sq Ste 408
     Atlanta, Georgia 30361




    Official Form                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                        page 1
                             Case 23-90116 Document 1 Filed in TXSB on 03/14/23 Page 8 of 33
    Debtor          Diamond Sports Group, LLC                                                     Case number (if known )
                      Name




    Name of creditor and complete           Name, telephone number, and     Nature of the claim    Indicate if      Amount of unsecured claim
    mailing address, including zip code     email address of creditor       (for example, trade    claim is         If the claim is fully unsecured, fill in only unsecured
                                            contact                         debts, bank loans,     contingent,      claim amount. If claim is partially secured, fill in
                                                                            professional           unliquidated,    total claim amount and deduction for value of
                                                                            services, and          or disputed      collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                    Total claim, if    Deduction for       Unsecured
                                                                                                                    partially          value of            claim
                                                                                                                    secured            collateral or
                                                                                                                                       setoff
    Harte-Hanks Response Management       Gregorio Alfonso                Trade Vendor                                                                        $247,904
8   Austin Inc                            516-849-6713
    PO Box 679164                         gregorio.alfonso@hartehanks.com
    Dallas, TX 75267

    Evergent Technologies, Inc.           Richard Johnson                   Trade Vendor                                                                      $170,000
9   1250 Borregas Ave                     877-897-1240
    Sunnyvale, CA 94089                   info@evergent.com

    Mercury Sports LLC                    Michael Ligon                     Trade Vendor                                                                      $143,675
10 214 Overlook Circle, Suite 220         615-465-4193
    Brentwood, TN 37027                   mligon@mercuryintermedia.com

    Minor Vices Inc                       Gina Terada                       Trade Vendor                                                                      $122,500
11 61 Greenpoint Ave, #635                646-694-0062
    Brooklyn, NY 11222                    gina@minorvices.com

    VITAC                                 Janet Anaya                       Trade Vendor                                                                      $100,930
12 Dept CH 18079                          303-468-4687
    Palatine, IL 60055                    janet.anaya@vitac.com

    Think Systems, Inc.                   Tony Gruebl                       Trade Vendor                                                                        $60,699
13 PO Box 338                             410-870-9967
    Kingsville, MD 21087                  tgruebl@thinksi.com

    Getty Images US, Inc.                 Kjelti Kellough                   Trade Vendor                                                                        $54,516
14 PO BOX 953604                          800-462-4379
    St. Louis, MO 63195                   kjelti.kellough@gettyimages.com

    TecVeris LLC                          Milliei Paniccia                  Trade Vendor                                                                        $53,837
15 3125 Wheatfield Road                   443-803-7180
    Finksburg, MD 21048                   millie.paniccia@tecveris.com

    IATSE National Benefit Fund           Lana Nikitenko                    Trade Vendor                                                                        $52,662
16 417 Fifth Ave, 3rd Floor               212-580-9092
    New York, NY 10016                    lnikitenko@iatsenbf.org

    CAA Sports, LLC                       Frank Moore                       Trade Vendor                                                                        $50,000
17 2000 Avenue of the Stars               424-288-2178
    Los Angeles, CA 90067                 fmoore@caa.com

    Checkmate Media, Inc.                 Barry Watkins                     Trade Vendor                                                                        $44,529
18 207 Harbor Lane                        917-841-2200
    Massapequa Park, NY 11762             watkinscheckmate@outlook.com

    West Agile Labs Inc                   Pramod Dabir                      Trade Vendor                                                                        $30,322
19 74 Tehama Street                       415-766-9378
    San Francisco, CA 94104               pdabir@westagilelabs.com

    Hockey Western New York LLC           Catie Basinski                    Trade Vendor                                                                        $30,133
20 One Seymour H Knox III Plaza           716-855-4774
    Buffalo, NY 14203                     catie.basinski@psentertainment.co
                                          m
    MSGN Holdings LP                      James Dolan                       Trade Vendor                                                                        $27,081
21 4 Penn Plaza                           212-465-6400
    New York, NY 10121                    MSGScorpcomms@msg.com

    Ease Live AS                          Kjetil Horneland                  Trade Vendor                                                                        $26,000
22 C Sundts Gate 37                       95-93-85-18
    Bergen 5004 Norway                    kjetil@easelive.tv




    Official Form                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                        page 2
                          Case 23-90116 Document 1 Filed in TXSB on 03/14/23 Page 9 of 33
   Debtor          Diamond Sports Group, LLC                                                     Case number (if known )
                   Name




   Name of creditor and complete             Name, telephone number, and   Nature of the claim    Indicate if      Amount of unsecured claim
   mailing address, including zip code       email address of creditor     (for example, trade    claim is         If the claim is fully unsecured, fill in only unsecured
                                             contact                       debts, bank loans,     contingent,      claim amount. If claim is partially secured, fill in
                                                                           professional           unliquidated,    total claim amount and deduction for value of
                                                                           services, and          or disputed      collateral or setoff to calculate unsecured claim.
                                                                           government
                                                                           contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
   Amazon Web Services, Inc.               Daniel Greenberg                Trade Vendor                                                                        $24,000
23 PO Box 84023                            206-266-4064
   Seattle, WA 98124-8423                  contracts-legal@amazon.com

   Sirius Computer Solutions, Inc.         Joe Mertens                     Trade Vendor                                                                        $23,753
24 PO BOX 202289                           800-460-1237
   Dallas, TX 75230                        info@siriuscom.com

   AT&T                                    David McAtee                    Trade Vendor                                                                        $22,374
25 208 Akard Street                        210-821-4105
   Dallas, TX 75202                        david.mcatee@att.com

   Worldlink Ventures, Inc.                Toni Knight                     Trade Vendor                                                                        $11,988
26 6100 Wilshire Blvd, Suite 1400          323-866-5900
   Los Angeles, CA 90048                   Info@WorldLinkMedia.com

   Imagn Content Services LLC              Burce Odle                      Trade Vendor                                                                        $10,080
27 7950 Jones Branch Drive                 646-601-7202
   McLean, VA 22107                        sales@imagn.com

   Genius Tech International PTY LTD       Nathan Rothschild               Trade Vendor                                                                         $9,188
28 LG 432 ST Kilda Road                    408-527-647
   Melbourne VIC 3004 Austrailia           nathan@gtgnetwork.com

   XLT Management Services Inc             Thomas Zeller                   Trade Vendor                                                                         $7,241
29 2050 S Finley Road, Suite 80            630-869-1871
   Lombard, IL 60148                       tzeller@xltms.com

   Social Booth Experiential LLC           Blair Stopnik                   Trade Vendor                                                                         $6,000
30 11138 Treynorth Drive, Suite B          704-275-1021
   Cornelius, NC 28031                     blair.stopnik@sbx.agency




   Official Form                   Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                      page 3
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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                               )
  In re:                                                       ) Chapter 11
                                                               )
  Diamond Sports Group, LLC,                                   ) Case No. 23-            (___)
                                                               )
                           Debtor.                             )
                                                               )

                             LIST OF EQUITY SECURITY HOLDERS

           Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the debtor

 respectfully represents that the below chart identifies the holders of the debtor’s sole class of equity

 interests and sets forth the nature and percentage of such interests held as of the filing of the

 debtor’s chapter 11 petition:



                                                                               Mailing Address of Interest
Interest Holder                            Class/Percentage of Interest Held
                                                                               Holder


                                                                               c/o Sinclair Broadcast Group, Inc.
Diamond Sports Intermediate Holdings LLC   100% Membership Interests           10706 Beaver Dam Road
                                                                               Hunt Valley, MD 21030
          Case 23-90116 Document 1 Filed in TXSB on 03/14/23 Page 11 of 33




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                         )
 In re:                                                  ) Chapter 11
                                                         )
 Diamond Sports Group, LLC,                              ) Case No. 23-           (___)
                                                         )
                             Debtor.                     )
                                                         )

                             CORPORATE OWNERSHIP STATEMENT

          Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

the following list identifies corporations that own 10% or more of the debtor’s equity interests as

of the filing of the debtor’s chapter 11 petition:


           Interest Holder                                      Class/Percentage of Interest




           Diamond Sports Intermediate Holdings LLC             100% Membership Interests
                      Case 23-90116 Document 1 Filed in TXSB on 03/14/23 Page 12 of 33

 Fill in this information to identify the case and this filing:


             Diamond Sports Group, LLC
 Debtor Name __________________________________________________________________

                                         Southern
 United States Bankruptcy Court for the: ______________________             Texas
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a
                                                List of Equity Security Holders and Corporate Ownership
              declaration__________________________________________________________________________________                  Statement




                                                                 /s/ David F. DeVoe, Jr.
        I declare under penalty of perjury that the foregoing is true and correct.
                                                                    _________________________________________________________________________
                     03 / 14 / 2023
        Executed on ______________                                   Signature of individual signing on behalf of debtor

                           MM / DD / YYYY



                                                                  David F. DeVoe, Jr.
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Chief Financial Officer & Chief Operating Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                                  EXECUTION VERSION

              OMNIBUS WRITTEN CONSENT IN LIEU OF A MEETING
                                  OF
                         THE GOVERNING BODIES
                                  OF
               THE DIAMOND COMPANIES (AS DEFINED BELOW)

                                      March 14, 2023

                WHEREAS, (i) Diamond Sports Group, LLC (“DSG”), a Delaware limited
liability company, is managed by a Board of Managers (the “DSG Board”); (ii) each of Sports
Network II, LLC, Sports Network, LLC, Diamond Digital Group, LLC, Diamond Gaming
Services, LLC, and Diamond Sports Net, LLC (“DSN”) are Delaware limited liability companies
managed by their sole member, DSG (collectively, the “DSG Managed Entities”); (iii) Diamond
Southern Holdings, LLC (“SouthCo”), a Colorado limited liability company, and each of
Diamond San Diego Holdings, LLC, Diamond West Holdings, LLC, Diamond Mobile Holdings,
LLC, Sports Holding, LLC (“Sports HoldCo”), Diamond Ohio Holdings, LLC (“DOH”),
Diamond Sports Net Arizona Holdings, LLC (“DSN AZ HoldCo”), Diamond Sports Net West 2,
LLC, Diamond College Sports, LLC, FRSM Holdings LLC (“FRSM”), Diamond Sports Net
North, LLC, Sunshine Holdco, LLC (“SunCo”), and Diamond Sports Net Florida, LLC, each of
which are Delaware limited liability companies, are managed by their sole member, DSN
(collectively, the “DSN Managed Entities”); (iv) Diamond Ohio Holdings II, LLC (“DOH II”), a
Delaware limited liability company, is managed by its sole member, DOH; (vii) each of
Diamond Sports Net Ohio, LLC, a Delaware limited liability company, and Fastball Sports
Productions, LLC, an Ohio limited liability company, are managed by their sole member, DOH
II (together, the “DOH II Managed Entities”); (v) Diamond Sports Net Arizona, LLC
(“DSN AZ”), a Delaware limited liability company, is managed by its sole member, DSN AZ
HoldCo; (vi) Diamond Sports Net Detroit, LLC (“DSN Detroit”), a Delaware limited liability
company, is managed by its sole member, FRSM; (vii) Diamond Sports Sun, LLC (“DSS”), a
Delaware limited liability company, is managed by its sole member, SunCo; (viii) Diamond-
BRV Southern Sports Holdings, LLC (“DBRV”), a Delaware limited liability company, is
managed by its sole member, SouthCo; (ix) each of SportSouth Network, LLC and SportSouth
Network II, LLC are Delaware limited liability companies managed by their sole member,
DBRV (together, the “DBRV Managed Entities”); (x) Diamond St. Louis Holdings, LLC
(“DSLH”), a Delaware limited liability company, is managed by its sole member, ARC Holding,
Ltd. (“ARC”); and (xi) ARC, a Texas limited partnership, is managed by its general partner,
Sports HoldCo;

              WHEREAS, DSG, the DSG Managed Entities, the DSN Managed Entities, DOH
II, the DOH II Managed Entities, DSN AZ, DSN Detroit, DSS, DBRV, the DBVR Managed
Entities, DSLH, and ARC are referred to collectively herein as the “Diamond Companies” and
each as a “Company;”

              WHEREAS, each of (i) the DSG Board, (ii) DSG as the sole member of each of
the DSG Managed Entities, (iii) DSN as the sole member of each of the DSN Managed Entities,
(iv) DOH as the sole member of DOH II, (v) DOH II as the sole member of each of the DOH II
Managed Entities, (vi) DSN AZ HoldCo as the sole member of DSN AZ, (vii) FRSM as the sole
member of DSN Detroit, (viii) SunCo as the sole member of DSS, (ix) SouthCo as the sole
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member of DBRV, (x) DBRV as the sole member of each of the DBRV Managed Entities,
(xi) ARC as the sole member of DSLH, and (xii) Sports HoldCo as the general partner of ARC
are referred to collectively herein as the “Governing Bodies” and each as a “Governing Body;”

                WHEREAS, Mr. David Preschlack, Mr. David DeVoe, Jr., and any other officer
or other authorized person of the applicable Company (each, an “Authorized Person”) are each
authorized to take action on behalf of the applicable Company;

              WHEREAS, the DSG Board has established a conflicts committee of the DSG
Board comprised of four independent and disinterested managers, Ms. Maryann Turcke, Mr.
Randy Freer, Mr. David Preschlack, and Mr. Robert Whitsitt (the “Conflicts Committee”);

                WHEREAS, the DSG Board delegated to the Conflicts Committee, among other
things, the authority to review and make decisions regarding any transactions, agreements,
disputes, or other matters involving DSG or any of its subsidiaries, on the one hand, and Sinclair
Broadcast Group, Inc. (“Sinclair”) and its subsidiaries and affiliates (other than DSG and its
subsidiaries), on the other hand (the foregoing, collectively, the “Related Party Matters”);

               WHEREAS, the DSG Board further delegated to the Conflicts Committee the
full and complete authority of the Board with respect to any Related Party Matter that is
exclusively between DSG or one or more of its subsidiaries and Sinclair
(each, a “Fully-Delegated Matter”) and further determined not to approve any Related Party
Matter that otherwise involves a party other than DSG or one or more of its subsidiaries and
Sinclair (each, a “Recommendation Matter”) unless the Conflicts Committee has recommended
that any such matter be approved by the Board;

               WHEREAS, the Conflicts Committee has determined that each of the matters the
Conflicts Committee is approving and recommending herein, including (which word and similar
forms thereof, for all purposes of these resolutions, shall be interpreted to be followed by the
words, “without limitation”) the commencement of the Chapter 11 Cases (as defined below) and
the Diamond Companies’ entry into and performance under the RSA (as defined below) and the
Receivables Program Documents (as defined below), in each case, constitute Related Party
Matters and Recommendation Matters;

               WHEREAS, each Governing Body and the Conflicts Committee has reviewed
and considered the financial and operational condition of their respective Company and of the
Diamond Companies as a whole, including the historical performance of the Diamond
Companies, the assets of the Diamond Companies, the current and long-term liabilities of the
Diamond Companies, and relevant industry and credit market conditions, and have considered
various alternatives in respect of such matters;

               WHEREAS, each Governing Body and the Conflicts Committee has had the
opportunity to consult with the management and the legal and financial advisors of the Diamond
Companies to fully consider each of the strategic alternatives available to the Diamond
Companies;

             WHEREAS, each Governing Body and the Conflicts Committee has received,
reviewed, and considered the recommendations of, and the materials presented by, the

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management of the Diamond Companies and the Diamond Companies’ legal, financial, and
other advisors as to the relative risks and benefits of pursuing a case under the provisions of
chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”);

              WHEREAS, the Conflicts Committee believes that taking the actions set forth
below is in the best interests of the Diamond Companies and, therefore, recommends that the
DSG Board approve the following resolutions; and

               WHEREAS, the DSG Board and the other Governing Bodies believe that taking
the actions set forth below is in the best interests of each respective Company and, therefore,
desires to approve the following resolutions;

I.     Commencement of Chapter 11 Cases

               NOW, THEREFORE, BE IT RESOLVED, that the Conflicts Committee and
the applicable Governing Body of each Company have determined, on behalf of the applicable
Company, after due consultation with the management and the legal and financial advisors of the
Diamond Companies, that it is desirable and in the best interests of such Company, its creditors,
and other parties in interest that a petition (the “Petition,” and together with the similar petitions
by all other Diamond Companies, the “Petitions”) be filed by such Company seeking relief under
the provisions of the Bankruptcy Code;

               RESOLVED, that Mr. David Preschlack, Mr. David DeVoe, Jr., as well as any
other Authorized Person be, and hereby is, authorized and directed to execute and file in the
name and on behalf of each Company, and under its corporate seal or otherwise, all plans,
petitions, schedules, statements, motions, lists, applications, pleadings, orders, and other
documents in the United States Bankruptcy Court for the Southern District of Texas
(the “Bankruptcy Court”), and, in connection therewith, to employ and retain all assistance by
legal counsel, accountants, financial advisors, investment bankers, and other professionals, and
to take and perform any and all further acts and deeds which such Authorized Person, who may
act without the joinder of any other Authorized Person or any one of them, deems necessary,
proper, or advisable in connection with each Company’s chapter 11 case (each case,
a “Chapter 11 Case,” and collectively, the “Chapter 11 Cases”), including negotiating, executing,
delivering, and performing any and all documents, agreements, certificates, and instruments in
connection with the transactions and professional retentions set forth in this resolution, with a
view to the successful prosecution of such Chapter 11 Case;

II.    Restructuring Support Agreement

                RESOLVED, that in the judgment of the Conflicts Committee and the applicable
Governing Body of each Company, it is desirable and in the best interests of such Company, its
creditors, and other parties in interest, that such Company shall be, and hereby is, authorized to
enter into that certain restructuring support agreement (the “RSA”) by and among the Diamond
Companies and certain consenting stakeholders (the “Consenting Stakeholders”) substantially in
the form presented to the Conflicts Committee and the Governing Bodies on or in advance of the
date hereof, with such changes, additions, and modifications thereto as an Authorized Person



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executing the same shall approve, such approval to be conclusively evidenced by an Authorized
Person’s execution and delivery thereof;

                RESOLVED, that each Authorized Person be, and hereby is, authorized and
empowered to enter into, on behalf of each applicable Company, the RSA, any additional
agreements contemplated thereunder, any related ancillary documentation, and to take any and
all actions necessary or advisable to advance such Company’s rights and obligations therein,
including filing pleadings; and in connection therewith, each Authorized Person, with power of
delegation, is hereby authorized and directed to execute the RSA on behalf of such Company and
to take all necessary actions in furtherance of consummation of such agreement’s terms;

III.   Retention of Professionals

                RESOLVED, that the law firms of Paul, Weiss, Rifkind, Wharton &
Garrison LLP and Porter Hedges LLP, each as general reorganization and bankruptcy counsel,
and Wilmer Cutler Pickering Hale and Dorr LLP, as special corporate and conflicts litigation
counsel, be, and hereby are, retained to represent and assist the Diamond Companies in carrying
out their duties under the Bankruptcy Code or in the Chapter 11 Cases and to take any and all
actions to advance the Diamond Companies’ rights and obligations in the Chapter 11 Cases and
all related matters, and any such prior actions are hereby ratified in their entirety;

               RESOLVED, that AlixPartners, LLP be, and hereby is, retained as financial
advisor in connection with the Chapter 11 Cases and all related matters, and any such prior
actions are hereby ratified in their entirety;

               RESOLVED, that Moelis & Company LLC and LionTree Advisors LLC be, and
hereby are, retained as investment bankers in connection with the Chapter 11 Cases and all
related matters, and any such prior actions are hereby ratified in their entirety;

                 RESOLVED, that Kroll Restructuring Administration LLC be, and hereby is,
retained as claims, noticing, solicitation, and administrative agent in connection with the Chapter
11 Cases and all related matters, and any prior actions taken in connection therewith are hereby
ratified in their entirety;

               RESOLVED, that each of the Diamond Companies, be, and hereby are,
authorized to employ any other professionals as the Governing Bodies, Conflicts Committee, or
any Authorized Person hereafter determine may be necessary, proper, or advisable to assist the
Diamond Companies, or any one of them, in carrying out their duties under the Bankruptcy Code
or in the Chapter 11 Cases, and all related matters and to take any and all actions to advance the
Diamond Companies’ rights and obligations in connection therewith;

                RESOLVED, that each Authorized Person be, and hereby is, authorized and
directed in the name and on behalf of each applicable Company to execute appropriate retention
agreements, pay appropriate retainers, and cause to be filed appropriate applications for authority
to retain the services of the foregoing professionals, as necessary;




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IV.    Receivables Program Documents

                RESOLVED, that in the judgment of the Conflicts Committee and the applicable
Governing Body of each applicable Company, it is desirable and in the best interests of such
Company, its creditors, and other parties in interest, that such Company shall be, and hereby is,
authorized to, as applicable, (a) continue selling, contributing, and/or servicing certain trade
receivables and related interests (including collections, proceeds, and certain other interests
related thereto, the “Receivables”) and otherwise perform in accordance with the terms of (i) that
certain Amended and Restated Loan and Security Agreement, dated as of June 25, 2021 (as
amended, restated, supplemented, or otherwise modified from time to time, the “AR Loan
Agreement”), by and among Diamond Sports Finance SPV, LLC, DSN, Sinclair, as
Administrative Agent and Lender, and Wilmington Trust, National Association, as Collateral
Agent, Paying Agent, Account Bank, and Back-Up Servicer, pursuant to which the Diamond
Companies have access to a revolving credit facility (the “AR Loan Facility”), and (ii) that
certain Purchase and Sale Agreement, dated as of September 23, 2020 (as amended, restated,
supplemented, or otherwise modified from time to time, the “AR Purchase Agreement”, and,
together with the AR Loan Agreement and all other related documents, the “Receivables
Program Documents”), by and among DSN, the Originators (as defined therein), and Diamond
Sports Finance SPV, LLC and (b) enter into any amendments, waivers, restatements,
supplements, or other modifications of the Receivables Program Documents as may be necessary
or desirable in connection with the Chapter 11 Cases;

               RESOLVED, that each Authorized Person be, and hereby is, authorized and
empowered to enter into and perform under, on behalf of each applicable Company, each of the
Receivables Program Documents, any amendments, waivers, restatements, supplements, or
other modifications with respect to the Receivables Program Documents to which such
Company is a party, any additional agreements contemplated thereunder, and any related
ancillary documentation, and to take any and all actions necessary or advisable to advance such
Company’s rights and obligations therein, including filing pleadings, and in connection
therewith, each Authorized Person, with power of delegation, is hereby authorized and directed
to execute the Receivables Program Documents and any other documentation required or
contemplated thereunder on behalf of such Company and to take all necessary actions in
furtherance of consummation of such agreement’s terms;

               RESOLVED, that each Authorized Person be, and hereby is, authorized and
empowered to execute and deliver, on behalf of each applicable Company, any further
amendment, amendment and restatement, waiver, or other modification to the Receivables
Program Documents, in each case, to which such Company is a party, such approval to be
conclusively evidenced by the execution and delivery thereof;

V.     Cash Collateral and Adequate Protection

              RESOLVED, that each Company will obtain benefits from the use of collateral,
including cash collateral, as that term is defined in section 363(a) of the Bankruptcy Code
(the “Cash Collateral”), which is security for certain prepetition secured creditors of the
Diamond Companies (collectively, the “Prepetition Secured Creditors”);



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               RESOLVED, that, to use and obtain the benefits of the Cash Collateral, and in
accordance with section 363 of the Bankruptcy Code, each Company will provide certain
adequate protection to the Prepetition Secured Creditors (the “Adequate Protection
Obligations”), as documented in order(s) to be entered by the Bankruptcy Court substantially in
the form presented to the Conflicts Committee and the Governing Bodies on or in advance of the
date hereof (the “Cash Collateral Order”), with such changes, additions, and modifications
thereto as an Authorized Person shall approve;

              RESOLVED, that each Company, as debtor and debtor in possession under the
Bankruptcy Code be, and hereby is, authorized to negotiate and incur the Adequate Protection
Obligations and to undertake any and all related transactions on substantially the same terms as
contemplated under the Cash Collateral Order;

              RESOLVED, that any Authorized Person is hereby authorized and directed, in
the name and on behalf of each applicable Company, to cause such Company to negotiate and
approve the terms, provisions of, and performance of, and to prepare, execute, and deliver the
Cash Collateral Order to which such Company is a party;

               RESOLVED, that each Authorized Person is hereby authorized and directed, in
the name and on behalf of each applicable Company, to take all such further actions, including to
pay all fees and expenses, in accordance with the terms of the Cash Collateral Order and any
documents in relation thereto (the “Cash Collateral Documents”), which shall, in such
Authorized Person’s sole judgment, be necessary, proper, or advisable to perform such
Company’s obligations under or in connection with the Cash Collateral Documents and the
transactions contemplated therein and to carry out fully the intent of the foregoing resolutions;

              RESOLVED, that each Authorized Person is hereby authorized and directed, in
the name and on behalf of each applicable Company, to execute and deliver any amendments,
supplements, modifications, renewals, replacements, consolidations, substitutions, and
extensions of the Cash Collateral Documents, which shall, in such Authorized Person’s sole
judgment, be necessary, proper, or advisable;

VI.    General Authorization and Ratification

               RESOLVED, that the Conflicts Committee and each Governing Body, as
applicable, have received sufficient notice of the actions and transactions relating to the matters
contemplated by the foregoing resolutions, as may be required by the organizational documents
of the applicable Company, or hereby waives any right to have received such notice;

                RESOLVED, that each Authorized Person be, and hereby is, authorized and
directed, in the name and on behalf of each applicable Company, to (i) do and perform all such
acts and things and enter into, execute, acknowledge, deliver, and file all such certificates,
agreements, acknowledgments, instruments, contracts, statements, and other documents and to
take such further actions as such Authorized Person may deem necessary, proper, or advisable to
effect the intent and accomplish the purposes of the foregoing resolutions, with the taking of any
such action by such Authorized Person being conclusive evidence that the same did meet such
standards as set forth above, (ii) perform the obligations of such Company under the Bankruptcy


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Code, with all such actions to be performed in such manner, and all such certificates,
instruments, guaranties, notices, and documents to be executed and delivered in such form, as the
Authorized Person or his or her delegate performing or executing the same shall approve, and the
performance or execution thereof by such Authorized Person or his or her delegate shall be
conclusive evidence of the approval thereof by such Authorized Person or his or her delegate and
by such Company, and (iii) pay fees and expenses in connection with the transactions
contemplated by the foregoing resolutions;

                RESOLVED, that any and all actions taken by an Authorized Person prior to the
date of adoption of the foregoing resolutions, which would have been authorized by the
foregoing resolutions but for the fact that such actions were taken prior to such date, be, and each
hereby is, ratified, approved, confirmed, and adopted as a duly authorized act of any applicable
Company in all respects and for all purposes; and

                RESOLVED, that, in addition to the specific authorizations heretofore conferred
upon the Conflicts Committee and each Governing Body, as applicable, each Authorized Person,
the Conflicts Committee (and its designees and delegates), and each Governing Body (and their
designees and delegates), as applicable, be, and hereby is, authorized and directed, in the name of
and on behalf of each Company, to take or cause to be taken any and all such other and further
action, and to execute, acknowledge, deliver, and file any and all such agreements, certificates,
instruments, and other documents and to pay all expenses, including filing fees, in each case as
in such Authorized Person’s judgment, shall be necessary, advisable, or desirable to fully carry
out the intent and accomplish the purposes of the resolutions adopted herein.

               [Remainder of page intentionally left blank; signature pages follow]




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                       IN WITNESS WHEREOF, the undersigned have executed this consent as of the date
              first set forth above.


                                                             CONFLICTS COMMITTEE OF THE BOARD
                                                             OF DIAMOND SPORTS GROUP, LLC




                                                             Randy Freer



                                                             David Preschlack



                                                             Maryann Turcke



                                                             Robert Whitsitt




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                      IN WITNESS WHEREOF, the undersigned have executed this consent as of the date
             first set forth above.


                                                             CONFLICTS COMMITTEE OF THE BOARD
                                                             OF DIAMOND SPORTS GROUP, LLC




                                                             Randy Freer



                                                             David Preschlack



                                                             Maryann Turcke



                                                             Robert Whitsitt




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                       IN WITNESS WHEREOF, the undersigned have executed this consent as of the date
              first set forth above.


                                                             CONFLICTS COMMITTEE OF THE BOARD
                                                             OF DIAMOND SPORTS GROUP, LLC




                                                             Randy Freer



                                                             David Preschlack



                                                             Maryann Turcke



                                                             Robert Whitsitt




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                       IN WITNESS WHEREOF, the undersigned have executed this consent as of the date
              first set forth above.


                                                             CONFLICTS COMMITTEE OF THE BOARD
                                                             OF DIAMOND SPORTS GROUP, LLC




                                                             Randy Freer



                                                             David Preschlack



                                                             Maryann Turcke



                                                             Robert Whitsitt




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                                                             BOARD OF MANAGERS OF DIAMOND
                                                             SPORTS GROUP, LLC




                                                             Randy Freer



                                                             David Preschlack



                                                             Maryann Turcke



                                                             Christopher Ripley



                                                             Robert Whitsitt




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                                                             BOARD OF MANAGERS OF DIAMOND
                                                             SPORTS GROUP, LLC




                                                             Randy Freer



                                                             David Preschlack



                                                             Maryann Turcke



                                                             Christopher Ripley



                                                             Robert Whitsitt




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                                                             BOARD OF MANAGERS OF DIAMOND
                                                             SPORTS GROUP, LLC




                                                             Randy Freer



                                                             David Preschlack



                                                             Maryann Turcke



                                                             Christopher Ripley



                                                             Robert Whitsitt




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                                                             BOARD OF MANAGERS OF DIAMOND
                                                             SPORTS GROUP, LLC




                                                             Randy Freer



                                                             David Preschlack



                                                             Maryann Turcke



                                                             Christopher Ripley



                                                             Robert Whitsitt




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                                                             BOARD OF MANAGERS OF DIAMOND
                                                             SPORTS GROUP, LLC




                                                             Randy Freer



                                                             David Preschlack



                                                             Maryann Turcke



                                                             Christopher Ripley



                                                             Robert Whitsitt




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                                                             DIAMOND SPORTS GROUP, LLC,
                                                             as the sole member of:

                                                             SPORTS NETWORK, LLC,

                                                             SPORTS NETWORK II, LLC,

                                                             DIAMOND DIGITAL GROUP, LLC,

                                                             DIAMOND GAMING SERVICES, LLC,

                                                             DIAMOND SPORTS NET, LLC



                                                             ___________________________________
                                                             By: David Preschlack
                                                             Title: Chief Executive Officer




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                                                             DIAMOND SPORTS NET, LLC,
                                                             as the sole member of:

                                                             DIAMOND SOUTHERN HOLDINGS, LLC,

                                                             DIAMOND SAN DIEGO HOLDINGS, LLC,

                                                             DIAMOND WEST HOLDINGS, LLC,

                                                             DIAMOND MOBILE HOLDINGS, LLC,

                                                             SPORTS HOLDING, LLC,

                                                             DIAMOND OHIO HOLDINGS, LLC,

                                                             DIAMOND SPORTS NET ARIZONA
                                                             HOLDINGS, LLC,

                                                             DIAMOND SPORTS NET WEST 2, LLC,

                                                             DIAMOND COLLEGE SPORTS, LLC,

                                                             FRSM HOLDINGS LLC,

                                                             DIAMOND SPORTS NET NORTH, LLC,

                                                             SUNSHINE HOLDCO, LLC,

                                                             DIAMOND SPORTS NET FLORIDA, LLC




                                                             ___________________________________
                                                             By: David Preschlack
                                                             Title: Chief Executive Officer




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                                                             DIAMOND OHIO HOLDINGS, LLC,
                                                             as the sole member of DIAMOND OHIO
                                                             HOLDINGS II, LLC



                                                             ___________________________________
                                                             By: David Preschlack
                                                             Title: Chief Executive Officer


                                                             DIAMOND OHIO HOLDINGS II, LLC,
                                                             as the sole member of:

                                                             DIAMOND SPORTS NET OHIO, LLC,

                                                             FASTBALL SPORTS PRODUCTIONS, LLC



                                                             ___________________________________
                                                             By: David Preschlack
                                                             Title: Chief Executive Officer


                                                             DIAMOND SPORTS NET ARIZONA
                                                             HOLDINGS, LLC,
                                                             as the sole member of DIAMOND SPORTS NET
                                                             ARIZONA, LLC




                                                             ___________________________________
                                                             By: David Preschlack
                                                             Title: Chief Executive Officer




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                                                             FRSM HOLDINGS LLC,
                                                             as the sole member of DIAMOND SPORTS NET
                                                             DETROIT, LLC




                                                             ___________________________________
                                                             By: David Preschlack
                                                             Title: Chief Executive Officer


                                                             SUNSHINE HOLDCO, LLC,
                                                             as the sole member of DIAMOND SPORTS
                                                             SUN, LLC




                                                             ___________________________________
                                                             By: David Preschlack
                                                             Title: Chief Executive Officer



                                                             DIAMOND SOUTHERN HOLDINGS, LLC,
                                                             as the sole member of DIAMOND-BRV
                                                             SOUTHERN SPORTS HOLDINGS, LLC




                                                             ___________________________________
                                                             By: David Preschlack
                                                             Title: Chief Executive Officer




                                     SIGNATURE PAGE TO ACTION BY WRITTEN CONSENT
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                                                             DIAMOND-BRV SOUTHERN SPORTS
                                                             HOLDINGS, LLC,
                                                             as the sole member of:

                                                             SPORTSOUTH NETWORK, LLC

                                                             SPORTSOUTH NETWORK II, LLC




                                                             ___________________________________
                                                             By: David Preschlack
                                                             Title: Chief Executive Officer


                                                             ARC HOLDING, LTD.,
                                                             as the sole member of DIAMOND ST. LOUIS
                                                             HOLDINGS, LLC



                                                             ___________________________________
                                                             By: David Preschlack
                                                             Title: Chief Executive Officer


                                                             SPORTS HOLDING, LLC,
                                                             as the general partner of ARC HOLDING, LTD.




                                                             ___________________________________
                                                             By: David Preschlack
                                                             Title: Chief Executive Officer




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